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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


Lincoln Latham

      v.                                         Case No. 23-cv-12041-SDE

The Honorable Richard G. Stearns


                                   ORDER

      No objection having been filed, I herewith approve the Report and

Recommendation of Magistrate Judge Talesha Leah Saint-Marc dated

October 1, 2024.    For the reasons explained therein, this case is

dismissed without prejudice. “‘[O]nly those issues fairly raised by

the objections to the magistrate's report are subject to review in the

district court and those not preserved by such objection are precluded

on appeal.’”     School Union No. 37 v. United Nat'l Ins. Co., 617 F.3d

554, 564 (1st Cir. 2010) (quoting Keating v. Secretary of Health &

Human Servs., 848 F.2d 271, 275 (1st Cir.1988)); see also United

States v. Valencia-Copete, 792 F.2d 4, 6 (1st Cir. 1986) (after proper

notice, failure to file a specific objection to magistrate's report

will waive the right to appeal).

      The clerk is directed to enter judgment and close this case.


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                                           _____________________
                                           Samantha D. Elliott
                                           United States District Judge
                                           Sitting by Designation

Date: October 23, 2024


cc:   Lincoln Latham, pro se
